
48 So. 3d 635 (2010)
Ex parte SOUTHERNCARE, INC.
(In re SouthernCare, Inc.
v.
Margaret Cowart).
1081550.
Supreme Court of Alabama.
May 14, 2010.
Thomas L. Oliver II, Joseph H. Driver, and Richard E. Trewhella, Jr., of Carr Allison, Pugh, Howard, Oliver &amp; Sisson, P.C., Birmingham, for petitioner.
Donald R. Rhea of Rhea, Boyd, Rhea &amp; Coggin, Gadsden, for respondent.
Prior report: Ala.Civ.App., 48 So. 3d 632.
PER CURIAM.
The writ of certiorari is quashed.
In quashing the writ of certiorari, this Court does not wish to be understood as approving all the language, reasons, or statements of law in the Court of Civil Appeals' opinion. Horsley v. Horsley, 291 Ala. 782, 280 So. 2d 155 (1973).
WRIT QUASHED.
COBB, C.J., and LYONS, WOODALL, STUART, SMITH, BOLIN, PARKER, MURDOCK, and SHAW, JJ., concur.
